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                               No. 15-15448


               UNITED STATES COURT OF APPEALS
                           FOR THE
                        NINTH CIRCUIT


           JON E. FRUDDEN, on behalf of his minor children,
                   JOHN DOE AND JANE DOE,
                      Plaintiffs-Appellants,

                                     vs.

KAYANN PILLING, the ROY GOMM ELEMENTARY SCHOOL PARENT-
FACULTY ASSOCIATION, INC., HEATH MORRISON, LYNN RAUH, the
            WASHOE COUNTY SCHOOL DISTRICT,

                           Defendants-Appellees.


     ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEVADA
                Case No. 3:11-cv-00474-RCJ-WCG
                  The Honorable Robert C. Jones


                   APPELLANTS’ OPENING BRIEF


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                       STATEMENT OF JURISDICTION

      The District Court had jurisdiction over this matter under 28 U.S.C. §1331,

because this case involves a federal question: whether school uniform policy

violates the First and Fourteenth Amendments and is brought under 42 U.S.C.

§1983. This Court has jurisdiction under 28 U.S.C. §1291 because the appeal is

from the February 10, 2015 order granting defendants’ summary judgment and

judgment which disposed of all parties’ claims. The Notice of Appeal was timely

filed March 10, 2015, ER 1-4.

            STATEMENT OF ISSUE PRESENTED FOR REVIEW

      Whether the school authorities’ summary judgment evidence established an

actual problem of bullying and plateauing test scores that needed solving at a

public school and that the mandatory school uniform, including the motto

“Tomorrow’s Leaders,” and policy were necessary to the solution?

                          STATEMENT OF THE CASE

I.    PROCEDURAL HISTORY

      Mary and Jon Frudden filed a Complaint on July 6, 2011 and a First

Amended Complaint (FAC) on October 18, 2011pursuant to 42 U.S.C. §1983

asserting violations of federal and state law, including violations of their two minor

children’s First Amendment rights. ER 533,513. Throughout this litigation, they

have claimed the Roy Gomm Elementary School’s (RGES) uniform policy

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violated First Amendment rights to free speech because it was unconstitutional

both by what it restricts and what it compels. ER 51-54,450-451,515-516.

      The Frudden students protested the policy by wearing regular (non-uniform)

clothes, uniforms of the American Youth Soccer Organization (AYSO), the RGES

uniform shirt inside out, and a written message (“Say No to Uniforms!!”). ER

445,445. The students were disciplined and threatened with out-of-school

suspension for violations of the policy. ER 422,448.

      The district court dismissed the FAC. Frudden v. Pilling, 842 F.Supp.2d

1265 (D.Nev. 2012) and the Fruddens appealed to this Court. After oral

arguments, this Court reversed finding the policy compelled students to bear the

government’s message of “Tomorrow’s Leaders” on the uniform and contained a

content-based exemption for nationally recognized youth organizations. Frudden

v. Pilling, 742 F.3d 1199, 1208 (9th Cir. 2014). It remanded for strict scrutiny

review. Id.

      On remand, the court ordered the Fruddens to file, and they did file, a second

amended complaint (SAC) consisting only of the second cause of action in the

FAC and directly related allegations. ER 30-36,437-454,515-520. The Answer

was filed; qualified immunity was not raised. ER 413,427-429.

      The school authorities moved for clarification on whether there was a

constitutional claim for school uniforms and the adoption of school uniforms “in

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general.” ER 410-412. The Fruddens opposed the motion. ER 399-409. The

district court granted the motion to clarify, stating: “the only claims pending before

the Court after remand are the claims based on: (1) the motto; and (2) the

exemption for nationally recognized organizations. The claim based on the bare

fact of the uniforms was not preserved on appeal (and was in fact conceded at oral

argument), and it is therefore not before the Court after remand.” ER 27.

      The Fruddens moved for leave to file a Third Amended Complaint pursuant

to Fed.R.Civ.P. 15(b) and to supplement the pleadings pursuant to Fed.R.Civ.P.

15(d). ER 386-390. The district court denied the Fruddens’ motion in its entirety.

ER 24A-24C.

      On December 15, 2014, the school authorities moved for summary judgment

(hereafter MSJ). ER 242-385. The Fruddens cross-moved for summary judgment,

and opposed, ER 212-241, and moved to strike portions of the MSJ affidavits, ER

62-77, as well as the school authorities’ MSJ Reply evidence. ER 525.

      The district court granted the school authorities’ MSJ, addressed the

Fruddens’ Motion for Clarification, denied the motion to strike the affidavit

testimony and granted the motion to strike the school authorities’ MSJ Reply

evidence. ER 6-24.




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II.   STATEMENT OF FACTS

      WCSD is a political subdivision of the State of Nevada and administers a

portion of the state system of public education. ER 438,414. KayAnn Pilling was

employed by WCSD as the principal of RGES. Id. Heath Morrison, Ph.D. was the

school superintendent for the WCSD employed by its BOT. Id. Lynn Rauh was

an employee of WCSD as an Area Superintendent for the Office of School

Performance. Id. At the time the original complaint was filed, the Frudden

students were enrolled at RGES, a WCSD school. ER 439,415.

      RGES is partly supported by the Roy Gomm Elementary School Parent-

Faculty Association, Inc. (PFA), a private, non-profit Nevada corporation. ER

274-276. The PFA campaigned in 2009 to implement mandatory school uniforms

at RGES. ER 440,416. The former PFA president, Mimi Butler, attested she

“thought, and then suggested to other members of the PFA, that school uniforms

may help students learn how to ‘dress for success’ and focus on schoolwork rather

than their clothing.” ER 278. Butler “noticed that, although many of the students

at Roy Gomm Elementary School were from wealthy households, there were some

students that could not afford expensive clothing.” ER 278-279. She “thought

school uniforms would help even the playing field for those students who could not

afford expensive clothes and, consequently, keep them focused on school rather

than what other students were wearing.” ER 279.

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       The PFA allowed each RGES family one vote and required two-thirds

majority of returned ballots in favor of school uniforms to pass the initiative. Id.

The measure failed. Id.

       Pilling attested RGES’s on-going special education program had a “large

percentage” of students “on a free and reduced lunch program;” the “school within

a school” (“SWAS”) at RGES “drew students from all of school zone Area 1,

which spanned out to Sun Valley, Nevada;” and RGES was a Title I receiver

school which gave “students who were zoned for a Title I school” “the option to

transfer to and attend” RGES. ER 292. She “anticipated” RGES “would have a

more socioeconomically diverse student body in 2010-2011 than in years past”

and, “[b]ased on this, in addition to boosting test scores, [she] believed school

uniforms would help even the playing field and prevent potential bullying against

the new students whose families may not be able to afford some of the expensive

clothing worn by their peers.” Id. Pilling appointed a PFA “uniform committee”

“to gather information and educate the parents about the proposed dress code.” ER

293.

       Dina Hunsberger, the PFA’s vice-president and chairperson of the uniform

committee, attested she “believed” uniforms would “boost test scores” and “would

help even the playing field and prevent potential bullying against the new students




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whose families may not be able to afford some of the expensive clothing worn by

their peers.” ER 283.

      After a fashion show and presentation, the PFA put the matter to vote again

in May 2011. Id. The measure reportedly passed with over 66% in favor of

uniforms. ER 293,181.

      Pilling, the PFA and uniform committee participated in drafting the written

policy including the exemption, and decided to include the school name and

mascot (gopher) together identified as the “RGES logo” and motto “Tomorrow’s

Leaders” on the shirt. ER 445,420,333,246.

      Evidence verified by Butler demonstrates students were required to buy the

RGES uniform shirt with the RGES logo to prevent the purchase of expensive

brand name polos which may lead to “social cliques, bullying and concentration on

clothing brands rather than school work.” ER 347.

      The policy describes its “main purpose” as “to establish a culture of ‘one

team, one community’ at Roy Gomm Elementary School.” ER 295. “Uniforms”

are said to “foster school spirit and unity, as well as a disciplined and safe learning

environment. Students will feel like they are part of a ‘team’ working toward the

goal of academic excellence.” Id.

      Beginning in the 2011-2012 school year, RGES students were required to

wear the RGES uniform: a red or navy blue “polo-style” shirt with the RGES logo

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and motto and khaki or tan bottoms. ER 441,443,445,465,417,418. The shirt was

purchased from RGES and bottoms could be purchased anywhere. ER 296.

Students who did not comply faced progressive disciplinary action for their

insubordination. ER 297-298.

      On September 9, 2011, Pilling notified Mary Frudden the policy’s

disciplinary action would be imposed against the students if they failed to wear the

mandatory uniform on September 12, 2011. ER 488,445,420.

      On September 12, 2011, WCSD, its then-chief general counsel Randy

Drake, and Pilling were informed the Fruddens would wear American Youth

Soccer Organization (AYSO) uniforms to school in order to avoid the

consequences threatened by Pilling and to continue to communicate that: (1) the

policy had been implemented legally and thereby challenged the authority; (2) the

mandatory uniform policy deprived them of their Constitutional right of freedom

of speech and expression and freedom to parent; (3) the mandatory uniform policy

compelled the students to speak a content and viewpoint-based message of “one

team, one community;” and (4) the mandatory uniform policy compelled them to

convey a message of group affiliation, content, group and/or viewpoint

associations, and social class (“one team, one community” and “Tomorrow’s

Leaders”). ER 490-492,445,446,420. The Frudden students were threatened with




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discipline, disciplined, and threatened with out-of-school suspension for their

policy violations. ER 448,422.

      On June 16, 2014, it was announced that “[a]s a result of the lawsuit

currently pending in the United States District Court, Roy Gomm uniform shirts

can no longer included the words Tomorrow’s Leaders.” ER 321.

      On June 24, 2014, WCSD BOT adopted Board Policy 5105 (“BP 5105”), by

which individual schools could implement mandatory school uniform policies. ER

313-319. BP 5105 grandfathered in all existing school uniform policies and

expressly states: “Uniforms may have the school logo and school name. No other

language shall exist on the uniforms that is not specific to the school name and

mascot (i.e. ‘Home of the Bears’). ER 315,318.

      WCSD Administrative Regulation 5105 (AR 5105), adopted on October 6,

2014, states: “the intent of a site-based school uniform policy is to generate an

effective learning environment, create and maintain a favorable school image, and

promote positive self-image among students.” ER 331.

                          SUMMARY OF ARGUMENT

      Content- and viewpoint-based speech regulations are presumptively invalid

and must survive strict scrutiny, a demanding standard rarely met. The

government bears the burden at all times to show the speech regulation was




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constitutional. The school authorities failed to meet this burden and they were not

entitled to summary judgment as a matter of law.

      The MSJ evidence failed to demonstrate the motto “Tomorrow’s Leaders” or

the content-based exemption for uniforms of nationally recognized youth

organizations served a compelling government interest achieved by a narrowly

tailored means.

      The MSJ evidence demonstrates the RGES uniforms were compelled in

order to: restrict student expression of wealth; prevent students from forming social

groups based upon their socioeconomic status; impose viewpoint-based standards

of “dress for success;” exalt expression of school pride and unity over individuals;

compel student association as one team, one community with a common goal; and

as a medium for disseminating the government’s message of “Tomorrow’s

Leaders.”

      The MSJ evidence failed to demonstrate any actual problem in need of

solving at RGES with bullying or plateaued test scores as a result of student

expression of disparate wealth and average income; that mandatory uniforms were

necessary to prevent bullying or to boost test scores; or that Nevada’s

comprehensive laws on bullying and cyberbullying were insufficient to address

any possible potential bullying at RGES.




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      The district court erred in preventing the Fruddens from pursuing a First

Amendment claim for compelled symbolic speech based upon the uniforms in

general, especially in light of the MSJ and evidence which failed to show that

school uniforms served a compelling government interest which was achieved by a

narrowly tailored means.

      The RGES policy and school uniforms are unconstitutional and the district

court erred in granting the school authorities MSJ and should have granted the

Fruddens summary judgment.

      The district court erred in granting the individually-named defendants

qualified immunity because they waived the affirmative defense by not asserting it

in any of their pleadings or previous motions and because the law regarding

compelled speech and content-based regulations was clearly established.

      An award of fees and costs is authorized by 42 U.S.C. §1988 should the

Fruddens prevail and is not precluded by the holding in Kay v. Ehrler, 499 U.S.

432, 111 S.Ct. 1435 (1991).

      The district court abused its discretion in excluding the Fruddens’ evidence.

                           STANDARD OF REVIEW

      A grant of summary judgment is reviewed de novo. Lopez v. Smith, 203

F.3d 1122, 1131 (9th Cir. 2000) (en banc). The court, viewing the facts in the light




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most favorable to the plaintiff, must determine whether any genuine issues of

material fact exist. Id.

      The district court’s decision to grant summary judgment on the basis of

qualified immunity is reviewed de novo. Ellins v. Sierra Madre, 710 F.3d 1049,

1056 (9th Cir. 2013).

      The district court’s decision on the admissible and exclusion of evidence in a

summary judgment motion is reviewed for an abuse of discretion. See Gen. Elec.

Co. v. Joiner, 522 U.S. 136, 141 (1997); Maffei v. N. Ins. Co., 12 F.3d 892, 897 (9th

Cir. 1993); United States v. Burreson, 643 F.2d 1344, 1349 (9th Cir. 1981), cert.

den’d, 454 U.S. 830, 847 (1981). Whether evidence is properly authenticated is a

question of law subject to de novo review.

                                  ARGUMENT

I.    CONTENT- AND VIEWPOINT BASED SPEECH REGULATION IS
      PRESUMED UNCONSTITUTIONAL

      “As a general rule, laws that by their terms distinguish favored speech from

disfavored speech on the basis of the ideas or views expressed are content based.”

Turner Broadcasting System, Inc. v. FCC, 512 U.S. 622, 643 (1994) (citing Burson

v. Freeman, 504 U.S. 191, 197 (1992)). “‘Content-based regulations are

presumptively invalid,’ R.A.V. v. St. Paul, 505 U.S. 377, 382 (1992), and the

Government bears the burden to rebut that presumption.” United States v. Playboy

Entertainment Group, Inc., 529 U.S. 803, 817 (2000).
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      Furthermore, when the government targets “particular views taken by

speakers on a subject, the violation of the First Amendment is all the more

blatant.” Rosenberger v. Rector and Visitors of the University of Virginia, 515

U.S. 819, 829 (1995) (citation omitted). Viewpoint discrimination is an “egregious

form of content discrimination” and “the government must abstain from regulating

speech when the specific motivating ideology or the opinion or perspective of the

speaker is the rationale for the restriction.” Id. at 829; see also, Monterey County

Democratic Central Committee v. United States Postal Service, 812 F.2d 1194,

1198 (9th Cir.1987), cited with approval in United States v. Kokinda, 497 U.S. 720,

736 (1990).

      That the “government may not prohibit the expression of an idea simply

because society finds the idea itself offensive or disagreeable” is a “bedrock

principle underlying the First Amendment.” Texas v. Johnson, 491 U.S. 397, 414

(1989). “Laws that compel speakers to utter or distribute speech bearing a

particular message are subject to the same rigorous scrutiny.” Turner Broadcasting

System, Inc. v. FCC, 512 U.S. 622, 642 (1994) (citing Riley v. National Federation

for Blind of N. C., Inc., 487 U.S. 781, 798; West Virginia Bd. of Ed. v. Barnette,

319 U.S. 624, 638, 640-642 (1943)).

      Supreme Court precedent clearly establishes that “minors are entitled to a

significant measure of First Amendment protection” and the government does not

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have “a free-floating power to restrict the ideas to which children may be

exposed.” Brown v. Entertainment Merchants Ass'n, 564 U.S. ____, 131 S.Ct.

2729, 2736 (2011). While students’ constitutional rights are not “automatically

coextensive” with the rights of adults in other setting, those rights are not shed at

the schoolhouse gate. Bethel School Dist. No. 403 v. Fraser, 478 U.S. 675, 682

(1986); Tinker v. Des Moines Independent Community School Dist., 393 U.S. 503,

506 (1969).

      The government can rebut presumptions of invalidity by showing a

regulation passes strict scrutiny—there is a compelling government interest that is

achieved by narrowly tailored means. Entertainment Merchants, 131 S.Ct. 2729,

2738 (2011) (citing R.A.V., 505 U.S. at 395 (1992)). The government must

specifically identify an “actual problem” in need of solving and the curtailment of

free speech must be actually necessary to the solution. Id.

      Entertainment Merchants recognized that strict scrutiny is a “demanding

standard.” Id. “It is rare that a regulation restricting speech because of its content

will ever be permissible.” Id., (citing Playboy, supra, at 818). Indeed, even

California’s attempt in that case to restrict children’s access to violent video games

depicting “killing, maiming, dismembering, or sexually assaulting an image of a

human being” could not pass constitutional muster.




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      America’s fierce protection of First Amendment rights evidences the core

principal that opinions and judgments, including esthetic and moral judgments,

should be formed, tested, and expressed by the individual, not the government,

“even with the mandate or approval of a majority.” Playboy, supra, at 818.

II.   THE SCHOOL AUTHORITIES DID NOT DEMONSTRATE THE
      COMPELLED MOTTO “TOMORROW’S LEADERS” SERVED A
      COMPELLING GOVERNMENT INTEREST BY A NARROWLY
      TAILORED MEANS

      As this Court already determined, compelling students to bear the motto

“Tomorrow’s Leaders” is compelled speech that must pass strict scrutiny to be

constitutional. Frudden v. Pilling, 742 F.3d at 1205 (9th Cir. 2014). The school

authorities’ MSJ evidence failed to meet the heavy burden and the district court

erred in granting summary judgment to the school authorities rather than to the

Fruddens on this issue.

      The MSJ makes clear the school authorities construed the “Roy Gomm

logo” as consisting of “the school mascot, a gopher, with the words ‘Roy Gomm

Elementary School.’” ER 246,296. The motto “Tomorrow’s Leaders” appears

“above the logo.” Id. This distinction is important when looking at whether the

school authorities demonstrated the motto served a compelling interest achieved by

a narrowly tailored means.

      The school authorities’ argument was that the motto was included to ensure

student focus, prohibit potential bullying and prevent the purchase of “an
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expensive brand name polo.” ER 264. The district court found: “Defendants

adduce the affidavits of former Principal Pilling and PFA members indicating that

the motto was included to ensure that students focused on their schoolwork rather

than their clothing and to prevent bullying against students from lower

socioeconomic stations.” ER 14-15[emphasis added].

          In fact, the affidavit testimony does not speak to the inclusion of the motto at

all. ER 278-280,282-284,291-293. And, the PFA’s answer to Interrogatory No. 14

states:

                [I]f the students were permitted to buy their own polo
                shirt without the RGES logo, then they could potentially
                buy an expensive brand name polo which would
                distinguish the wealthy students from the average income
                students and may lead to social cliques, bullying, and
                concentration on clothing brands rather than school work.

ER 347[emphasis added]. This evidence only addresses why the “RGES logo”

was included. It does not speak to or offer a reason for including “Tomorrow’s

Leaders.” As to that, the school authorities’ MSJ evidence states:

                 [T]he PFA decided to include “Tomorrow’s Leaders”,
                the RGES logo, and the Gopher because the slogan
                “Children are 25% of our Population and 100% of our
                Future” has been on the front of RGES for decades.
                Members of the PFA and the RGES Uniform Committee,
                comprised of parents at the school, summarized this
                positive message into two words: “Tomorrow's Leaders.”
                It was thought that “Tomorrow’s Leaders” would
                motivate the students to be forward thinking.


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ER 342. The PFA “believed the written words was a motivational slogan that

would teach students to think about the importance of what they are doing today,

and how today’s academic choices can impact their future.” ER 343.

      In their reply brief, the school authorities raise a different argument. Again

however, the evidence does not show the motto was included for those reasons. In

addition, the new arguments were raised for the first time in the Reply and the

Fruddens did not have the opportunity to respond. Thus the arguments and

evidence should not have been considered. Provenz v. Miller, 102 F.3d 1478, 1483

(9th Cir. 1996); Koerner v. Grigas, 328 F.3d 1039, 1048 (9th Cir. 2003).

      The school authorities did not demonstrate, indeed, did not even attempt to

demonstrate, a compelling government interest for compelling students to bear the

motto “Tomorrow’s Leaders” or that compelling students to bear such motto was a

narrowly tailored means to accomplish any asserted government interest. Since the

asserted long-version of the message had been on the government’s property for

decades, there was no need to compel students to personally bear that message.

ER 342.

      The district court erred in granting the school authorities summary judgment

and in failing to grant the Fruddens summary judgment on this.




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III.   THE SCHOOL AUTHORITIES DID NOT DEMONSTRATE THE
       CONTENT-BASED EXEMPTION FOR UNIFORMS OF A
       NATIONALLY RECOGNIZED YOUTH ORGANIZATION SERVED
       A COMPELLING GOVERNMENT INTEREST BY THE LEAST
       RESTRICTIVE MEANS

       The school authorities’ MSJ heading states: “The RGES Uniform Policy’s

Incorporation of the Motto “Tomorrow’s Leaders” and the Exception for

Nationally Recognized Youth Organizations Served a Compelling Interest.” ER

262. However, the arguments that follow do not address the exemption at all. ER

262-269. The school authorities simply made no attempt whatsoever to justify the

exemption. Id.

       The school authorities did not demonstrate a compelling government interest

for the exemption or that it was a narrowly tailored means to accomplish any such

government interest. Because the school authorities never met their initial burden

(also their burden at trial), the Fruddens had no obligation to respond.

Fed.R.Civ.P. 56.

       Their Reply stated the exemption would “further school efficiency and

organization” and, by eliminating worries over changing clothes, “the students

could focus on school and attendance.” ER 83, (citing to the PFA’s answer to

Interrogatory No. 10). However, the answer to the Interrogatory only avers to

easier planning for students and parents so that “they didn't have to worry about




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bringing two sets of clothing.” ER 344. It says nothing of the argued purposes

regarding efficiency and focus. ER 83.

      Further, the Fruddens did not have the opportunity to respond to the Reply

and the district court should have either refused to consider the new matters or

allowed the Fruddens an opportunity to respond. Provenz v. Miller, 102 F.3d

1478, 1483 (9th Cir. 1996); Koerner v. Grigas, 328 F.3d 1039, 1048 (9th Cir. 2003).

      The court concluded “the evidence indicates the purpose of the exemption

was to aid students and parents in attending those meetings with less disruption,

i.e., without having to change clothes at the end of the school day in classrooms,

school bathrooms, or parents’ cars.” ER 21. The district court found that it would

“be inclined to find that the purpose behind permitting the wear of uniforms for

nationally recognized youth organizations on days that those organizations met to

have been compelling.” Id. But, it avoided the analysis and instead found the

Fruddens had not shown there was a genuine issue of fact as to whether they

suffered damages because of the exemption. Id.

      In doing so, the district court erred. This Court determined the content-based

exemption to be presumptively invalid and therefore the initial burden was on the

school authorities to prove it survived strict scrutiny. Accepting the school

authorities’ explanation the exemption was an accommodation to students and

parents in attending meetings of nationally recognized youth organizations after

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school, only demonstrates its unconstitutionality and the unconstitutionality of the

policy requiring uniforms to begin with.

      The justification is this: The purpose of the exemption is to accommodate

students and parents for after-school events because those students are more

distracted, disrupted and inconvenienced by the need to change out of RGES

uniforms and into their nationally recognized youth organization uniforms. If they

are more distracted, disrupted and inconvenienced, they will have decreased focus

and attention on school. If they have decreased focus and attention on school, they

will have lower test scores. So, there is a compelling government interest in

lessening the distraction, disruption and inconvenience for those students who wear

uniforms of nationally recognized youth organizations.

      This begs the question: Why are the members of nationally recognized

youth organizations any more distracted, disrupted and inconvenienced than any

other student who has a function to attend after school which would require

him/her to change? They are not, or at least if they are, the school authorities did

not provide any evidence on which this could be established.

      And, assuming these distractions, disruptions and inconveniences lead to

lower test scores, then the exemption does not achieve the asserted interest of

boosting test scores for any student other than those students of nationally




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recognized youth organizations. In this case, there is obvious viewpoint

discrimination.

      And, if the distraction, disruptions and inconveniences caused by the need to

change from the RGES uniform into the nationally recognized youth organization

uniform are so great that an exemption is needed, then the premise for the RGES

uniforms (less distraction on clothing) is defeated. In this case, there is no

compelling purpose for the RGES uniform and no compelling purpose for the

exemption.

      The clear preference the exemption provides cannot be justified by the

policy itself or on the basis provided by the school authorities. For these reasons,

the RGES policy is unconstitutionally content-based and must fail with the

exemption.

      Moreover, even under the “more” compelling interest of preventing

bullying, the exemption must fail. The district court opined: “Clothing is a

physical representation of that background that can present an immediately

available and more tempting target for ridicule than generalized knowledge of

another child’s socioeconomic background.” ER 18. And, the PFA was of the

opinion that expensive brand name polo shirts “would distinguish the wealthy

students from the average income students and may lead to social cliques, bullying,

and concentration on clothing brands rather than school work.” ER 347.

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       However, the school authorities failed to show how uniforms of nationally

recognized youth organizations are any less expressive of socioeconomic status,

less distracting, less likely to result in social cliques, or less likely to lead to

bullying than regular, non-uniform clothes.

       In short, uniforms of nationally recognized youth organizations can be as

much of a physical representation of a child’s socioeconomic status as regular,

non-uniform clothes. There was no evidence that the latter is clearly more

disruptive than the former. Thus, the RGES regulation is unconstitutional. See

Carey v. Brown, 447 U.S. 455, 460–61 (1980) (Prohibition on all nonlabor

picketing unconstitutional where the labor picketing excluded from the statute was

equally likely to intrude on the tranquility of the home); Police Dep't of Chi. v.

Mosley, 408 U.S. 92, 98–99 (1972).

       Since the school authorities failed to satisfy strict scrutiny for the exemption,

they were not entitled to summary judgment as a matter of law. Summary

judgment should be granted against a party “who fails to make a showing sufficient

to establish the existence of an element essential to that party’s case, and on which

that party will bear the burden of proof at trial.” Huey v. Honeywell, Inc., 82 F.3d

327, 334 (9th Cir. 1996) (quoting Celotex v. Catrett, 477 U.S. 317, 322 (1986)).

       And the Court erred in requiring the Fruddens to prove damages. The school

authorities failed to carry their initial burden of production, so the Fruddens had no

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obligation to produce anything. Nissan Fire v. Fritz, 210 F.3d 1099, 1102-1103

(2000)(citing Adickes v. S.H. Kress & Co., 398 U.S. 144, 160 (1970)).

      Additionally, nominal damages must be awarded if the plaintiff proves that

his or her constitutional rights have been violated. See Carey v. Piphus, 435 U.S.

247, 266-67 (1978); Cummings v. Connell, 402 F.3d 936, 942-46 (9th Cir. 2005).

The unconstitutional exemption gives rise to at least nominal damages for the

Fruddens.

IV.   THE SCHOOL AUTHORITIES DID NOT DEMONSTRATE THE
      CONTENT- AND VIEWPOINT BASED REGULATION SERVED A
      COMPELLING GOVERNMENT INTEREST BY THE LEAST
      RESTRICTIVE MEANS

      A.     THE EVIDENCE UNEQUIVOCALLY ESTABLISHED
             CONTENT- AND VIEWPOINT BASED REGULATION

      The school authorities’ MSJ evidence leaves no doubt the regulation of

student expression via clothing at RGES was content- and viewpoint-based. The

only justifications the school authorities make are based upon the content of

student expression via their clothes.

      Mimi Butler attested that her personal views about how students should

“dress for success” and her views that students should “focus on their schoolwork

rather than their clothing” prompted her to think about and then suggest school

uniforms to other members of the PFA. ER 278-279. It was her personal

observations and suppositions that, although many of RGES students “were from

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wealthy households, there were those who could not afford expensive clothes.” Id.

Her motivation for school uniforms was to “level the playing field for those

students who could not afford expensive clothes and, consequently, keep them

focused on school rather than what other students were wearing.” ER 279.

Butler’s idea for school uniforms was then presented to RGES parents. ER 278.

Butler, as the president of the PFA, informed parents of all the reasons “the PFA

board [is] recommending that Roy Gomm students wear uniforms,” “the common

arguments against school uniforms,” and the PFA’s response to those arguments.”

ER 114-115. Included was the PFA’s position that it wanted students “to

distinguish themselves based on who they are as a person and what they have to

say rather than what clothing they are wearing” and “to realize that coming to

school dressed for success is one of the most important things they do at this time

of their lives.” Id. It was the PFA’s position that “[s]tudents will learn to express

themselves through internal talents such as academics, singing, art, acting, and

athletics [rather] than through their clothing style.” ER 115. The PFA’s view was

that student self-expression via clothes was less valuable than expression by other

means.

      The matter was put to a parental vote and failed. ER 279. The PFA

summarized the various comments provided by parents with the returned uniform




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ballots which ranged from “great idea—dressed for success” and “make friends for

who kids are” to “stifles expression” and “absolutely not.” ER 127.

      This public debate on the social and educational value of school uniforms at

RGES was not put to rest despite the failed ballot results. The next year, “the issue

of school uniforms” was again discussed by the PFA. ER 279. A PFA “uniform

committee” was formed and a fashion show and parent information night was held.

Id. The PFA vice-president and uniform committee chairperson, Dina Hunsberger,

and Pilling, the principal, both attested they “believed that, in addition to boosting

test scores, school uniforms would help even the playing field and prevent

potential bullying against the new students whose families may not be able to

afford some of the expensive clothing worn by their peers.” ER 283,292. Again,

the content of what students express via their clothes was examined.

      And, once again, this public issue on the social and educational value of

school uniforms was decided by a majoritarian voting process, this time with the

results coming out in favor of mandatory uniforms. ER 283,293.

      The PFA/uniform committee then established the mandatory school uniform,

made the determination to include the motto “Tomorrow’s Leaders” on the

uniforms and participated in crafting the written policy, including the

determination to include the exemption for uniforms of nationally recognized

youth organizations. ER 445,420,333,246. That policy states in part:

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            The main purpose of the Roy Gomm School Uniform
            Policy is to establish a culture of ‘one team, one
            community’ at Roy Gomm Elementary School. As such,
            uniforms serve to foster school spirit and unity, as well as
            a disciplined and safe learning environment. Students
            will feel like they are part of a ‘team’ working toward the
            goal of academic excellence.

ER 295. The school authorities attested “the intent of the policy was to have a

unified student body, regardless of their parents’ income.” ER 347.

      Their evidence demonstrates the motto “Tomorrow’s Leaders” was used as a

short-hand version of a “positive message” found on the school building. ER 342.

The motto was thought to be a “motivational slogan” to “teach students to think

about the importance of what they are doing today, and how today’s academic

choices can impact their future.” ER 343.

      Finally, the school authorities’ evidence demonstrates that students were

precluded from buying their own polo shirt “without the RGES logo” in order to

prevent them from buying “an expensive brand name polo which would distinguish

the wealthy students from the average income students and may lead to social

cliques, bullying, and concentration on clothing brands rather than school work.”

ER 347.

      On its face, the expressed “main purpose” of the policy favored student

expression of “one team, one community” to make students “feel like they are part

of a ‘team’ working toward the goal of academic excellence.” On its face, the

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“uniforms” were intended to give viewpoint-based preference for “school pride

and unity.” See Jacobs v. Clark County School Dist., 526 F.3d 419 (9th Cir. 2008)

(allowance of school logo was at least a colorable claim for impermissible content-

and viewpoint-based preference for expressions of school pride).

      Further, the school authorities’ evidence shows the RGES regulation was

aimed at student expression of wealth via their clothes in order to “even the

playing field” and present a “unified” student body regardless of their parents’

income. ER 347. The PFA’s answer to Interrogatory No. 14 shows the regulation

was aimed at student expression of wealth by way of brand-name clothes in order

to prevent “social cliques, bullying, and concentration on clothing brands rather

than work.” “Listeners’ reaction to speech is simply not a viewpoint-neutral basis

for regulation.” Forsyth County v. The Nationalist Movement, 505 U.S. 123, 134

(1992).

      In addition, it cannot be overlooked that implementation of mandatory

uniforms was conditioned upon a successful majority parental vote. ER

292,293,181. The matter was not without controversy as is evidenced by

evidenced by the PFA’s summary of the parent comments that accompanied the

ballots. ER 128-129. This, in itself, evidences viewpoint discrimination because

the majority viewpoint will always be given preference in matters that are

controversial. “By definition, that which is ‘controversial’ is ‘a cause of

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disagreement,’ or subject to opposing views.” Hopper v. City of Pasco, 241 F.3d

1067, 1079, n. 12 (9th Cir. 2001) (citing and quoting Webster’s Third New Int’l

Dictionary, p. 1366). “The whole theory of viewpoint neutrality is that minority

views are treated with the same respect as are majority views. Access to a public

forum, for instance, does not depend upon majoritarian consent.” Board of

Regents of Univ. of Wis. System v. Southworth, 529 US 217, 235 (2000); see also

Santa Fe Independent School Dist. v. Doe, 530 US 290, 304-305 (2000) (policy

which authorized principal to advise and direct high school student counsel to vote

by secret ballot on whether to include an invocation was viewpoint based “doing

nothing to protect the minority; indeed, it likely serves to intensify their offense.”).

      It cannot be disputed that, based upon the clear language of the policy and

the school authorities’ own evidence, the RGES regulation was content- and

viewpoint based. The regulation was implemented after a majoritarian voting

process, the school authorities’ disclosed purposes indisputably show preferences

for expression of “average income” and an intent to suppress expression of wealth,

and the policy, on its face, gives preference to “team” expressions and expression

of “school pride and unity.”

      The Fruddens argued to this Court they should have the “opportunity to

develop the factual record that would show that the Policy was motivated by a

desire to suppress certain ideas, or that it is unconstitutional even if it is content-

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neutral.” Appellant’s Opening Brief at 21, Frudden v. Pilling, No. 12-15403 (9th

Cir. June 6, 2012); see also Appellant’s Reply Brief at 22, Frudden v. Pilling, No.

12-15403 (9th Cir. July 20, 2012). The Ninth Circuit did not make any findings

regarding content-neutrality or any concession by the Fruddens. Frudden v.

Pilling, 742 F.3d 1199 (9th Cir. 2014). It stated: “We do not suggest that the entire

policy must fall if RGES’s justifications are insufficient. For example, under

Jacobs, the RGES policy clearly would survive constitutional scrutiny if the

uniforms consist of plain-colored tops and bottoms. Thus, whether the written

motto or the exemption passes constitutional muster are separate inquiries.” Id. at

1208, n. 6.1

      Thus, the policy itself must pass strict scrutiny, as well as the compelled

motto and the exemption for nationally recognized youth organizations.

      B.       THE DISTRICT COURT ERRED IN DETERMINING THE
               POLICY AND UNIFORMS WERE CONSTITUTIONAL

      The school authorities justify the mandatory uniforms by claiming they were

justified in regulating student speech. But if there was no compelling government

reason to regulate student speech, there could be no compelling interest in

mandating uniforms. In other words, if there was no compelling government

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 Under Jacobs, the challenged policy must be content- and viewpoint-neutral and
pass intermediate scrutiny. Jacobs, 526 F.3d at 422, 432. These are factual
inquiries, or, at the very least mixed questions of law and fact and not purely
questions of law. Id. A content- or viewpoint-based policy is presumed invalid.
R.A.V. v. St. Paul, 505 U.S. 377, 382 (1992).
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interest in preventing students from dressing in their regular, non-uniform clothes

to begin with, there could be no reason to mandate uniforms.

             1.    No Compelling Government Interest Identified by the
                   School Authorities.

      The school authorities argued there was a compelling interest in

“maintaining an effective and efficient school system” as set forth in Ferrell v.

Dallas Indep. Sch. Dist., 392 F.2d 697, 703 (5th Cir. 1968), in “eliminating

discrimination in education and other areas” in accordance with Grutter v.

Bollinger, 539 U.S. 306, 331 (2004), and “in eliminating discrimination and

assuring its citizens equal access to education and publicly available goods and

services” as provided by Roberts v. U.S. Jaycees, 468 U.S. 609, 624 (1984). ER

263-264. The Reply also asserts a compelling government interest in “in fostering

the growth and character of its student body.” ER 86.

      The district court expressly rejected the first two asserted compelling

interests: “Defendants misread Grutter” and “do not argue that there was any

discrimination to be remedied at RGES” or that “the uniform policy here increased

the diversity of the RGES student body.” ER 14. The district court steers the

school authorities clear of Grutter where the Supreme Court reiterated that

“outright racial balancing” is “patently unconstitutional.” Grutter, supra, at 330,




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(citing Freeman v. Pitts, 503 U.S. 467, 494 (1992) (“Racial balance is not to be

achieved for its own sake”).2

         The court rejects Ferrell as well as “not closely on point” because “[i]t

involved a dress code, not compelled speech on a uniform.” ER 14. The district

court did not address the third proffered interest enunciated in Roberts or the

interest asserted in the Reply. ER 14-16.

         The school authorities’ inability to specifically identify the compelling

interest at stake is telling—if they can’t identify the specific interest, how is the

court to analyze whether the government has an interest or whether it is

compelling? The district court’s rejection of all the asserted interests is also

informative for the simple fact that, in the court’s eyes, they failed to identify a

compelling government interest. This should have been fatal given their burden of

proof.

         But, the court saved the school authorities concluding that Jacobs v. Clark

Cnty. Sch. Dist., 526 F.3d 419, 435–36 (9th Cir. 2008) and Blau v. Fort Thomas

Pub. Sch. Dist., 401 F.3d 381, 391–92 (6th Cir. 2005) support their position (even

though they did not cite to either case as support). ER 14,17,263-264.

Confusingly, the district court’s reliance on Jacobs and Blau at this juncture

contradicts its earlier reason for rejecting the compelling interest asserted in

2
 Grutter is not so far removed from this case that the analogy cannot be made
between racial balancing and social class balancing.
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Ferrell: “But that case is not closely on point. It involved a dress code, not

compelled speech on a uniform.” ER 14.

      The district court then identifies the problems at RGES by relying upon the

MSJ affidavits, concluding “the purposes of the Policy were to boost test scores

and to prevent bullying of children from lower socioeconomic stations.” ER 16. It

found “both purposes to be compelling, particularly the second.” Id. It opined that

“[c]hildren can of course be cruel to those who are different from them. In recent

years. . .bullying has even led to children committing suicide. Taking measures to

prevent bullying, such as mandating uniform clothing to detract from

socioeconomic differences, is therefore a compelling state interest.” Id. Further,

the court concluded (albeit in the context of whether there were “actual problems”

at RGES) if Jacobs found it “hard to think of a government interest more important

than the interest in fostering conducive learning environments for our nation’s

children,” it had “little difficulty finding that interest to be compelling.” ER 17.

      Even if this Court were to find the school authorities had a compelling

interest to prevent bullying and increase test scores, the school authorities still did

not meet their high burden of proof and were not entitled to summary judgment.




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              2.    The District Court Erred in Finding their Were “Actual
                    Problems” in “Need of Solving.”

      Simply identifying a compelling state is not enough. “When the Government

defends a regulation on speech as a means to redress past harms or prevent

anticipated harms, it must do more than simply ‘posit the existence of the disease

sought to be cured.’” Turner Broadcasting System, Inc. v. FCC, 512 U.S. 622, 664

(1994) (quoting Quincy Cable TV, Inc. v. F.C.C., 768 F.2d 1434, 1455 (D.C.Cir.

1985).

      In order to meet strict scrutiny (and their burden of proof) the school

authorities were obligated to identify an “actual problem” in “need of solving” at

RGES. Brown v. Entertainment Merchants Ass'n, 564 U.S. ___, 131 S.Ct. 2729,

2738 (2011) (citing United States v. Playboy Entm't Grp., Inc., 529 U.S. 803, 822-

23 (2000)). The school authorities made references to “social cliques, bullying,

and concentration on clothing brands rather than school work,” ER 264,347, but

offered no evidence to support the occurrence of any of these problems at RGES.

      Citing to the rationale elucidated in Blau v. Fort Thomas Pub. Sch. Dist.,

401 F.3d 381, 391–92 (6th Cir. 2005) the district court reasoned that bullying and

low test scores were “‘actual problems’ for the purposes of a strict scrutiny

analysis” “[e]ven if bullying had not yet manifested at RGES” because the school

authorities could “anticipate and take measures to prevent it, and there is an


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interest in maintaining or improving test scores even if they are not poor to begin

with.” ER 17.

      The district court’s reliance on Blau is misplaced.3 In Blau, the Sixth Circuit

affirmed summary judgment to the school authorities on student’s First

Amendment claim because there was no “speech” involved and the student dress

code, not mandatory school uniforms, was analyzed under intermediate scrutiny

because it was content- and viewpoint neutral. Id. at 391.

      In this case, however, this Court already determined the compelled speech of

“Tomorrow’s Leaders” and the content-based exemption are subject to strict

scrutiny. Frudden v. Pilling, 742 F.3d 1199, 1208 (9th Cir. 2014). Thus, the

district court erred determining there were “actual problems” “in need of solving”

merely because the school authorities could “anticipate and take measures to

prevent [bullying], and there is an interest in maintaining or improving test scores

even if they are not poor to begin with.” ER 17. Such “predictive judgments” are

not appropriate under strict scrutiny. Brown v. Entm't Merchants Ass'n, 564 U.S.

___, 131 S.Ct. 2729, 2738 (2011)(The state’s “reliance on Turner Broadcasting, is

misplaced. That decision applied intermediate scrutiny to a content-neutral

regulation. [citation] California’s burden is much higher, and because it bears the

risk of uncertainty, [citation], ambiguous proof will not suffice.”).

3
 The same is true for any reliance on Jacobs, see e.g., ER 20, which was
determined under intermediate scrutiny.
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      Under Entertainment Merchants’ standard, which requires a showing of an

“‘actual problem’ in need of solving” and that “the curtailment of free speech must

be actually necessary to the solution,” the school authorities’ evidence surely fails.

Entertainment Merchants, 131 S.Ct. at 2739.

      They did not show an “actual problem in need of solving.” Rather, they

showed unsupported beliefs about possibilities of potential problems:

             I anticipated that the school would have a more
             socioeconomically diverse student body in 2010-2011
             than in years past. Based on this, I believed that, in
             addition to boosting test scores, school uniforms would
             help even the playing field and prevent potential bullying
             against the new students whose families may not be able
             to afford some of the expensive clothing worn by their
             peers.

ER 292 [emphasis added]. Pilling’s purely subjective “beliefs” and assumptions

were nothing more than speculation. “Mere speculation of harm does not

constitute a compelling state interest.” Consolidated Edison Co. v. Public Serv.

Comm’n, 447 US 530, 543 (1980) (citing Mine Workers v. Illinois Bar Assn., 389

U.S. 217, 222-223 (1967)). Speculation and predictive judgments are simply too

capacious when it comes to strict scrutiny. The government must show more to

justify its content-based regulation. The harm in this approach is aptly illustrated in

this case.

      The school authorities argued that there was “a very real threat of potential

bullying and the forming of social cliques” because “children from varying
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socioeconomic backgrounds would be entering RGES due to the new programs put

in place.” ER 80. But the school authorities failed to show that the mere

attendance by children from “varying socioeconomic backgrounds” was anything

more than that (whatever varying socioeconomic backgrounds is), and certainly not

bullying.

      The district court determined that students express their socioeconomic

status by their clothes--“clothing is a physical representation of that

background”—and then made the assumption that students who can’t express

wealth will be bullied because their clothes “present an immediately available and

more tempting target for ridicule than generalized knowledge of another child’s

socioeconomic background.” ER 18. And, it found RGES had a compelling

government interest in preventing bullying “[e]ven if bullying had not yet

manifested at RGES” and in boosting test scores “even if they are not poor to begin

with.” ER 17.

      Significantly, “bullying,” the interest the district court found was particularly

compelling, was not a reason offered by the school authorities during the time the

PFA and Pilling were campaigning for uniforms. Mimi Butler’s May 3, 2010 letter

to Roy Gomm Parents regarding the recommendation for school uniforms at RGES

for 2010-2011 does not address “bullying” as a reason for recommendation. ER

114-115. The flyer for the “School Uniform Informational Parent Meeting” states

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that: “At this meeting, the PFA and school faculty will discuss the benefits of

uniforms and address the concerns parents may have about implementing

uniforms.” ER116. There is no mention of “bullying.” Id. The PowerPoint

presentation delivered at the parent information meeting on April 26, 2011 makes

no reference to “bullying” as a reason for school uniforms. ER 117-125. And, the

April 27, 2011 follow-up letter from the “Roy Gomm Uniform Committee” to

parents indicates the PFA Uniform Committee has worked diligently to research

the advantages and disadvantages of uniforms and we believe that uniforms will

[sic] a positive change for our school.” ER 126. Again, however, there is no

reference to “bullying.” Also relevant, the PFA’s summaries of parent comments

for the unsuccessful 2010 attempt at uniforms and the 2011 successful attempt

reveal that no parent made a comment regarding uniforms as a way to solve a

problem of “bullying.” ER 127-129.

      Finally, the RGES mandatory school uniform policy itself makes no

reference to “bullying” as an actual problem to be addressed by way of the policy.

ER 295. Cf. Tinker, 393 U.S. at 509 (“Even an official memorandum prepared

after the suspension that listed the reasons for the ban on wearing the armbands

made no reference to the anticipation of such disruption”).

      A “mere expectation” that speech will cause a disruption is insufficient to

justify a prohibition on speech. A.M. ex rel. McAllum v. Cash, 585 F.3d 214, 221

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(5th Cir. 2009). School authorities’ decision to suppress student speech must be

based on “fact, not intuition, that the expected disruption would probably result

from the exercise of the constitutional right and that foregoing such exercise would

tend to make the expected disruption substantially less probable or less severe.’”

Id. at 221-22 (quoting Butts v. Dallas Indep. Sch. Dist., 436 F.2d 728, 731 (5th

Cir.1971)).

      The school authorities presented no evidence that bullying was actually

occurring at RGES much less that bullying was occurring because of students’

clothes, brand name or otherwise. The school authorities presented no admissible

evidence that test scores at RGES were jeopardized—that, according to the school

authorities, test scores had actually “plateaued.”4 And yet, the district court

concluded:

              Defendants have satisfied their initial burden on
              summary judgment to present evidence that if
              uncontroverted at trial would entitle them to a directed
              verdict. They have presented evidence that the purposes
              of the Policy were to boost test scores and to prevent
              bullying of children from lower socioeconomic stations.
              The Court finds both purposes to be compelling,
              particularly the second.


4
 Mimi Butler attested that School Superintendent Dr. Heath Morrison “mentioned
that Roy Gomm Elementary School was a good school with high test scores;
however, those scores had plateaued in recent years.” The Fruddens moved to
strike this testimony as hearsay. ER 72. The district court denied the motion prior
to any opposition by the school authorities. ER 23-24. The district court cited to
Butler’s testimony as evidence test scores had plateaued. ER 15.
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ER 16. Given Entertainment Merchants and the other cited authorities herein, this

conclusion was clearly in error. “When First Amendment compliance is the point

to be proved, the risk of nonpersuasion—operative in all trials—must rest with the

Government, not with the citizen.” United States v. Playboy Entertainment Group,

Inc., 529 U.S. 803, 818 (2000). Otherwise, “we would risk leaving regulations in

place that sought to shape our unique personalities or to silence dissenting ideas.”

Id.

             3.    Determination of Narrowly Tailored

      In addition to showing there is a compelling governmental interest (actual

harm in need of solving) the school authorities had the burden to prove the

restriction on student expression was narrowly tailored. Thus, they had to show

that restricting students’ free expression and compelling them to wear the RGES

school uniforms (including the RGES logo and motto) was actually necessary for

the prevention of bullying and to boost test scores and the RGES school uniform

was the least restrictive means of achieving those interests. Entertainment

Merchants, 564 U.S. ___, 131 S.Ct. 2729, 2738 (2011); Playboy, 529 U.S. 803,

813 (2000) (Narrowly tailored requires “the least restrictive means to further a

compelling governmental interest.”).

      The district court found “it would be sufficiently difficult to avoid a child

drawing inferences of another child’s socioeconomic background by other means if

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the children were permitted to wear clothing chosen and purchased by their parents

that differed in quality (or at least in price) based on the brand.” ER 17. “Clothing

is a physical representation of that background that can present an immediately

available and more tempting target for ridicule than generalized knowledge of

another child’s socioeconomic background.” ER 18.

      In fact, the school authorities’ evidence shows mandatory uniforms were not

necessary to prevent students being targets for ridicule. Butler attested she noticed

in 2009-2010 “many of the students at Roy Gomm Elementary School were from

wealthy households” and “there were some students that could not afford

expensive clothing.” ER 278-279. Pilling attested she anticipated RGES would

have a more socioeconomically diverse student body in 2010-2011 than in years

past. ER 292. According to these affiants, RGES students’ clothes already

presented an “immediately available and more tempting target for ridicule” in the

2009-2010 and 2010-2011 school years. ER 18. Yet, the school authorities

presented no evidence that RGES students were ridiculing or being ridiculed based

upon that physical representation of their socioeconomic background.

Additionally, they presented no evidence test scores had been “boosted” in the four

years since implementation of the policy.

      The complete absence of such evidence directly undermines the school

authorities’ argument that regulation of student expression of wealth was necessary

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to prevent bullying and increase test scores. Moreover, the fact that uniforms were

implemented only after a “successful” ballot measure, ER 280, undermines the

argument that uniforms were necessary to prevent bullying and increase test

scores.

      According to the district court’s reasoning, the government can regulate

inferences that students might make when they look at one another. ER 17-18.

But students make inferences about other “physical representations” that are

“immediately available” and “tempting targets for ridicule,” i.e., sexuality, gender,

weight, height, hair color, handicap. Yet, these physical representations could not

provide the basis for broad, prophylactic government regulations suppressing one

or more of these physical representations merely because it might be the target of

ridicule, at least not without some evidence that the particular physical

representation caused some actual problem. If the purpose were merely to prevent

bullying, the policy could have been: “Anyone who ridicules a student based upon

his/her clothes (sexuality, gender, weight, height, hair color, handicap, etc.) will be

subject to progressive disciplinary action, including suspension.”

      In fact, Nevada’s comprehensive laws on school bullying, including cyber-

bullying, are aimed at the very conduct the school authorities claim to be

addressing, including exploiting an imbalance in power and conduct that creates an

environment which is hostile to a pupil by interfering with the education of the

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pupil. See e.g., NRS 388.121 et seq.; NRS 392.915. Surely these laws are more

than sufficient to address any incidents of bullying without chilling the speech of

all innocent students. But the school authorities did not address that.

      Additionally, as a means “leveling the playing field” (if, indeed,

constitutionally permissible in this manner),5 the RGES policy fell far from the

mark because the regulation was vastly underinclusive. Remarkably, the RGES

mandatory school uniform policy clearly left wide open the expression of

wealth/socioeconomic status by the mere fact the “wealthy” students could have

multiple sanctioned-shirts, in both red and blue, and could replace torn, stained,

worn-out, or outgrown shirts at any time. Furthermore, the “wealthy” could still

flaunt their wealth, if you will, via the brand, price, logo, quantity, quality of the

other clothing mandated or permitted under the RGES mandatory school uniform

policy, as well as with jewelry, hair accessories, cell phones, backpacks, purses,

shoes, etc. none of which fell under the regulation.

      That students were permitted to express their wealth in so many other ways,

and in ways that are equally “representative” of their socioeconomic status as

brand name polo shirts are, indicates the regulation is underinclusive. No one

could seriously conclude that mandating a RGES mandatory uniform shirt with the

5
 See Grutter v. Bollinger, 539 U.S. 306 (2004); Buckley v. Valeo, 424 U.S. 1, 48-
49 (1976)(“[T]he concept that government may restrict the speech of some
elements of our society in order to enhance the relative voice of others is wholly
foreign to the First Amendment.”).
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RGES logo and motto, while leaving so many other means of socioeconomic

expression open, could possible achieve the asserted purpose of “leveling the

playing field.” Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S.

520, 546–47 (1993)(“Where government restricts only conduct protected by the

First Amendment and fails to enact feasible measures to restrict other conduct

producing substantial harm or alleged harm of the same sort, the interest given in

justification of the restriction is not compelling”).

      The RGES mandatory school uniform policy was overinclusive as well,

restricting all student speech recognized in Jacobs v. Clark County School Dist.,

373 F.Supp.2d 1162, 1172 (D.Nev. 2005) i.e., pure speech, group affiliation,

religion, political affiliation, group or viewpoint association, a challenge to

authority, sexuality, defiance of stereotypes, demonstration of acquiescence in the

prevailing order, and conformance with prevailing stereotypes—for the admitted

purpose of regulating expression of wealth/socioeconomic status. For a law to be

narrowly tailored, “government must curtail speech only to the degree necessary to

meet the particular problem at hand” and “must avoid infringing on speech that

does not pose the danger that has prompted regulation.” Colorado Republican

Federal Campaign Comm. v. Federal Election Comm’n, 518 US 604, 641 (1996).

      Recently, the Supreme Court reiterated that strict scrutiny requires the

regulation be narrowly tailored to advance the government’s compelling interest

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through the least restrictive means. Williams-Yulee v. Florida Bar, S.Ct. No. 13-

1499 (April 29, 2015) (citing United States v. Playboy Entertainment Group, Inc.,

529 U. S. 803, 813 (2000)). The district court, however, opined: “Defendants are

not required to have used the least restrictive means of serving those purposes but

only ‘narrowly tailored’ means, as noted by the Court of Appeals. See Frudden,

742 F.3d at 1207.” ER 20-21.

      Rounds v. Or. State Bd. of Higher Educ., 166 F.3d 1032, 1038, n. 4 (9th Cir.

1999), cited by Frudden, at 1207 cites to both Wooley v. Maynard, 430 U.S. 705

(1977) and West Virginia State Board of Education v. Barnette, 319 U.S. 624

(1943) which required strict scrutiny where personal speech was compelled.

      In Wooley, the Court said: “[W]here the State’s interest is to disseminate an

ideology, no matter how acceptable to some, such interest cannot outweigh an

individual’s First Amendment right to avoid becoming the courier for such

message.” Wooley, at 717. And, in Barnette, the Court said:

             Words uttered under coercion are proof of loyalty to
             nothing but self-interest. Love of country must spring
             from willing hearts and free minds, inspired by a fair
             administration of wise laws enacted by the people’s
             elected representatives within the bounds of express
             constitutional prohibitions. These laws must, to be
             consistent with the First Amendment, permit the widest
             toleration of conflicting viewpoints consistent with a
             society of free men.




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Barnette, at 644. Frudden’s citation to Rounds signaled its intent that the

government’s compelling interest had to be achieved by the least restrictive means.

Anything less would be inconsistent with Wooley and Barnette.

      And this is exactly what happened. The district court determined “including

the gopher mascot and the motto on the uniforms was narrowly tailored to serving”

the “compelling purpose” “to detract from socioeconomic differences between

students that varied clothing could highlight.” ER 20. Omitting the mascot and

motto could have “permitted students to wear clothing of differing quality or price,

thereby undermining one of the compelling purposes of adopting the uniform

dress.” Id. Notably, the court concludes the motto could have been omitted, but its

inclusion “did not render the Policy constitutionally infirm for failure of narrow

tailoring” because “First Amendment rights are not as extensive in the school

context as in broader society” and the motto is not “political in nature” which is

“the most closely protected speech.” ER 21.

      The district court’s reasoning cannot be upheld. First, it is not accurate to

state political speech it the most closely protected. The Supreme Court recently

quoted the Second Court of Appeals in affirming the judgment—“The First

Amendment protects even dry information, devoid of advocacy, political

relevance, or artistic expression.” Sorrell v. IMS Health Inc., ___ U.S. ___, 131

S.Ct. 2653, 2666-67 (2011) (internal quotation marks and alteration omitted by

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Court)). Second, the district court’s analysis is contrary to the holding of this

Court and flies in the face of clear, established Supreme Court precedents. It

strikes a heavy blow at principles well-established in Entertainment Merchants,

Wooley, Barnette and Tinker, to name but a few. If the district court’s decision is

left to stand, then:

    Instead of actual harm in need of solving, school authorities can use their

       predictive judgment to anticipate a possibility of potential harm and then

       claim it needs solving;

    Instead of curtailing speech because, without doing so, there will be no

       solution, school authorities can find a solution that enables them to curtail all

       speech;

    Instead of permitting individuals to speak their own message or not to speak

       any message at all, school authorities can make all students speak the same

       government message so no harmful inferences can be made;

    School authorities can do all of this because public school students’ rights

       are automatically less than everyone else’s.

    And, one form of fully protected speech is more fully protected than any

       other.

       It is clear, this decision cannot stand.



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      In the present case, school authorities admittedly regulated students’

expression of wealth when there was not even an iota of evidence that expression

of wealth resulted in bullying or that suppression of wealth decreased bullying.

More specifically in this case, there was no evidence a mandatory school uniform

policy that suppressed students’ preferred messages and advanced the

government’s preferred messages of school spirit and team unity as well as

“Tomorrow’s Leaders” was a necessary means to achieve a bully-free school.

And, there was no showing whatsoever, and no finding by the district court, that

student expression of his or her wealth resulted in “plateaued” test scores.

      Moreover, while the school authorities identified certain government

interests, they did not present any evidence on which to find a compelling

government interest, least of all a compelling government interest which was

remedied by the use of the motto “Tomorrow’s Leaders.” The testimony of Butler,

Hunsberger and Pilling addresses why uniforms were mandated, it offers nothing

to support the contention the motto served a compelling government interest.

       “[A]t the heart of the First Amendment is the notion that an individual

should be free to believe as he will, and that in a free society one’s beliefs should

be shaped by his mind and his conscience rather than coerced by the State.” Abood

v. Detroit Bd. of Ed., 431 US 209, 235 (1977) (citing Elrod v. Burns, 427 U.S. 347,

356-357 (1976)(plurality opinion). Abood reaffirmed that “freedom of belief” is

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not an “incidental or secondary aspect of the First Amendment’s protections,”

rather it is a core aspect of the First Amendment. “If there is any fixed star in our

constitutional constellation, it is that no official, high or petty, can prescribe what

shall be orthodox in politics, nationalism, religion, or other matters of opinion or

force citizens to confess by word or act their faith therein.” Id. (quoting West

Virginia Bd. of Ed. v. Barnette, 319 U.S. 624, 642).

V.    THE FRUDDENS’ COMPELLED SPEECH CLAIM REGARDING
      SCHOOL UNIFORMS IN GENERAL

      In Frudden v. Pilling, 742 F.3d 1199, 1208 (9th Cir. 2014), the Ninth Circuit

reversed dismissal of the Fruddens’ First Amendment claims and directed the

district court to review the motto and the content-based exemption under strict

scrutiny. Because it found the motto to be compelled speech, the Ninth Circuit did

“not address whether the Fruddens can state a compelled speech claim based,

without more, on the school logo (i.e., the ‘stylized gopher’ with the words ‘Roy

Gomm Elementary School’).” Id. at 1205, n. 2.

      The district court found: “At oral argument on appeal, Plaintiffs’ counsel

more than once conceded that a motto-less uniform without the content-based

exemption for nationally recognized youth organizations would be unobjectionable

under Jacobs v. Clark Cnty. Sch. Dist., 526 F.3d 419 (9th Cir. 2008) and that

Plaintiffs did not object to the gopher mascot.” ER 26. For these reasons, the

district court concluded that “[t]he claims based on the bare fact of the uniforms
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was not preserved on appeal (and was in fact conceded at oral argument), and it is

therefore not before the Court after remand.” ER 26-27.

      Even if such a concession were made, which the Fruddens deny, it does not

foreclose their claim the RGES uniforms in general are unconstitutional. Based

upon the MSJ evidence, the RGES regulation was content- and viewpoint-based

and the intermediate scrutiny test relied upon in Jacobs is entirely inapplicable to

both to the policy and the uniform.

      The Ninth Circuit did not rule out the possibility that “there are times when

‘wearing a uniform is expressive, identifying the wearer with other wearers of the

same uniform, and with the ideology or purpose of the group.’” Jacobs v. Clark

County School Dist., 526 F.3d 419, 438 (9th Cir. 2008)(quoting Church of Am.

Knights of the Ku Klux Klan v. Kerik, 356 F.3d 197, 206 (2nd Cir. 2004)).

      In this case, the RGES mandatory uniforms are more than the “solid-colored

tops and bottoms” assessed and rejected in Jacobs as symbolic, expressive speech.

The distinctive nature of the RGES uniforms and the factual context in which they

are worn demonstrate the RGES uniforms are intended to be expressive of the

government’s messages (both pure and symbolic).

      A “uniform,” by definition, bespeaks affiliation and/or association with

some particular group. A “uniform” is defined as “dress of a distinctive design or

fashion adopted by or prescribed for members of a particular group and serving as

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a means of identification.” Webster's Third New Internat. Dict. (1986), p. 2498.

Something is “distinctive” if it “serves to distinguish, or sets something apart from

others, or if it is characteristic of or peculiar to its type.” See id. p. 659.

       The RGES uniform shirt, in fact, contained very distinctive qualities,

features and designs. The shirt is limited in style, design, color, brand, quality and

price. ER 296. The name of the school, a stylized image of a gopher (the school

mascot) and the motto “Tomorrow’s Leaders” all appear on the front of the shirt.

ER 296,417,441. While an image of a gopher itself may not have any

particularized meaning, the school authorities described the gopher as the school

mascot. ER 246.6 As a mascot, the gopher image takes on a more specific and

significant meaning. “Mascot” is defined as “a person, animal, or object adopted

by a group as a symbolic figure esp. to bring them good luck.” Webster’s Third

New Internat. Dict. (1986), p. 700; See e.g., Crosby by Crosby v. Holsinger, 852

F.2d 801, 802 (4th Cir. 1988)(“A school mascot or symbol bears the stamp of

approval of the school itself.”); see also, Crue v. Aiken, 370 F.3d 668 (7th Cir.

2004)(First Amendment concerns over mascot/symbol of the university).

       The school name, mascot and motto appear in a distinct composition on the

left front side of the shirt (which, when worn would be approximately positioned

over the heart). ER 465,461,441,417. Large banners containing same image and

6
 The same stylized gopher image is used on RGES letterhead, ER 321 and on a
letter written by Mimi Butler as the PFA president. ER 114.
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words in in the same distinct composition were posted at RGES. ER 442,418.

Like the uniform shirt colors, half the banner is red and half is navy blue. ER Id.

The words “One Team One Community” appear at the top in white. Id.

      Notably, the RGES Policy expressly states:

             The main purpose of the Roy Gomm School Uniform
             Policy is to establish a culture of ‘one team, one
             community’ at Roy Gomm Elementary School. As such,
             uniforms serve to foster school spirit and unity, as well as
             a disciplined and safe learning environment. Students
             will feel like they are part of a ‘team’ working toward the
             goal of academic excellence.

ER 295.

      The motto “Tomorrow’s Leaders” was used as a short-hand version of a

“positive message” found on the school building. ER 342. The motto was thought

to be a “motivational slogan” to “teach students to think about the importance of

what they are doing today, and how today’s academic choices can impact their

future.” ER 343.

      The RGES uniforms, policy, banners and the government’s motivating

ideology are unquestionably linked. The school authorities attested “the intent of

the policy was to have a unified student body, regardless of their parents’ income.”

ER 347.

      The uniform could “not be altered in any way” and students were “required

to wear the school uniform” “during Roy Gomm’s official school hours,” “formal

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class activities immediately before or after school,” and “[e]vening activities

outside the official school day” “subject to the requirement of the teacher in charge

of the activities.” ER 296. Optional sweatshirts were available in red or navy blue

which also contained the same composition. Id. Students were permitted to “wear

a coat over their uniform on cold days while outside at recess” but were required to

remove it “[u]pon returning to the classroom.” Id.

      All students enrolled at RGES Students were free to wear non-uniform

clothes on days designated as “free dress/spirit wear” days, field trips designated as

“free dress” or when on campus outside of normal school hours. ER 297.

Uniforms of nationally recognized youth organization such as Boy Scouts or Girl

Scouts on regular meeting days were permitted. Id.

      The RGES uniform is a distinct style with a unique design, containing

clearly identifying school information as well as and the asserted “motivational”

motto of “Tomorrow’s Leaders.” Thus, unlike Jacobs, where the “uniforms” were

“nothing more than plain-colored tops and bottoms,” the distinctive uniform and

pure speech messages contained thereon, in conjunction with the language of the

policy itself, the prominent banners, and the school authorities’ admissions, all

demonstrate the RGES uniform was intended to be symbolic expression

(containing pure speech).




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      Given the factual context, the environment and the nature of hundreds of

children wearing nearly-identical uniforms, it is not reasonable to assume the

RGES uniform was used for any other purpose than as symbolic expression. If the

passive wearing of the silent symbol of plain black armbands can be “akin to pure

speech,” under the circumstances of this case the RGES uniform can certainly be

considered “akin to pure [compelled] speech.” Tinker v. Des Moines Indep.

Comm. Schl. Dist., 393 U.S. 503, 505 (1969).

      The undeniable intent was that the uniform, in general, operate as a symbolic

message of a unified school of one team, one community with school spirit and

unity working together toward a common goal of academic excellence as

“Tomorrow’s Leaders.” See Anderson v. City of Hermosa Beach, 621 F.3d 1051,

1059 (9th Cir. 2010) (“[T]attooing is purely expressive activity rather than conduct

expressive of an idea, and is thus entitled to full First Amendment protection

without any need to resort to Spence’s ‘sufficiently imbued’ test.”).

      The First Amendment includes “the right to associate with others for the

purpose of advancing ideas” and “to refuse association with those who articulate

contrary views.” Rounds v. Or. State Bd. of Higher Educ., 166 F.3d 1032, 1036

(9th Cir. 1999). An individual’s right to autonomy is threatened when he/she is

forced to disseminate a view that is contrary to their own, and this is especially so

where the one compelled is “intimately connected with the communication

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advanced.” Hurley v. Irish-American Gay, Lesbian and Bisexual Group of Boston,

Inc., 515 U.S. 557, 566 (1995). The district court erred in ruling the Fruddens

could not pursue a claim against the RGES uniforms in general.

      It may be that a majority of families at RGES do not object to RGES

uniforms as a showing of “One Team, One Community” “Tomorrow’s Leaders”

and may see it as motivating, inspirational and effective in promoting school pride

and unity. Indeed, the Nazi propaganda slogan “Ein Volk, ein Reich, ein Führer”

(“One People, One Nation, One Leader”) was “used to great effect in 1938.” 7

“‘Everyone is familiar with instances of propaganda through fiction. What is one

man’s amusement, teaches another’s doctrine.’” Brown v. Entertainment

Merchants Ass'n, 131 S.Ct. 2729, 2732 (2011)(quoting Winters v. New York, 333

U.S. 507, 510 (1948)). However, the Fruddens object to being compelled to bear

the government’s message via mandatory school uniforms, especially where, as

here, the uniforms fail to serve a compelling government interest in the least

restrictive means.

      The MSJ was directed at the constitutionality of the RGES uniforms in

general with no attempt to justify the motto independently from the uniforms in




7
 See “Nazi Propaganda” by Professor David Welch http://www.bbc.co.uk/history/
worldwars/wwtwo/nazi_propaganda_gallery_03.shtml last updated 2011-02-17
accessed 16 June, 2015.
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general. Rather, the MSJ evidence shows the RGES uniform provided the medium

for the motivational slogan.8

VI.    QUALIFIED IMMUNITY IS NOT AVAILABLE

      “Qualified immunity shields federal and state officials from money damages

unless a plaintiff pleads facts showing (1) that the official violated a statutory or

constitutional right, and (2) that the right was ‘clearly established’ at the time of

the challenged conduct.” Ashcroft v. al-Kidd, 563 U.S. ___, 131 S.Ct. 2074, 2080

(2011) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). In order to be

clearly established, “[t]he contours of the right must be sufficiently clear that a

reasonable official would understand that what he is doing violates that right.”

Anderson v. Creighton, 483 U.S. 635, 640 (1987).

      The school authorities waived the defense by their failure to plead it.

Fed.R.Civ.P. 8(c).

      The district court found there was no “clearly established right against the

compelled wearing of a school motto on an elementary school uniform or against a

uniform exception for nationally recognized youth organizations when those

organizations meet.” ER 11-12. The court construed the right too narrowly. “We



8
 Cf. Riley v. Nat'l. Fed'n. of the Blind of N.C., 487 U.S. 781, 796 (1988)(When
commercial speech is “inextricably intertwined with otherwise fully protected
speech,” the entirety of the intertwined speech is treated as fully protected
expression).
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do not require a case directly on point, but existing precedent must have placed the

statutory or constitutional question beyond debate.” Ashcroft, 131 S.Ct. at 2083.

In fact, “even if there is no closely analogous case law, a right can be clearly

established “on the basis of ‘common sense.’” Giebel v. Sylvester, 244 F.3d 1182,

1189 (9th Cir. 2001)(citing DeBoer v. Pennington, 206 F.3d 857, 865 (9th Cir.

2000), petition for cert. filed, (U.S. Aug. 7, 2000) (No. 00-222)).

      “The Supreme Court has consistently tried to make it clear that the First

Amendment protects the rights of all persons to proclaim their views for all to hear

without interference by the state.” Id.

      More than seventy years ago, in West Virginia State Board of Education v.

Barnette, 319 U.S. 624 (1943), the Supreme Court explained that public

elementary school students9 could not be compelled to affirm by words and acts

that which they did not believe. The compulsion there was for school children to

regularly salute and pledge allegiance to the flag of the United States with failure

to conform considered an action of “insubordination” resulting in expulsion. Id. at

626-29. Barnette made it abundantly clear that authorities do not have the

constitutional right to select appropriate means for “national unity.” Id. at 642.


9
 Morgan v. Swanson, 659 F.3d 359, 386 (5th Cir. 2011) (en banc) (noting that
Barnette involved elementary school students); Walker-Serrano ex rel. Walker v.
Leonard, 325 F.3d 412, 417 (3d Cir. 2003) (“For over fifty years, the law has
protected elementary students’ rights to refrain from reciting the pledge of
allegiance to our flag.”) (citing Barnette).
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      This case is within the clear contours of Barnette. RGES students were

compelled to “establish a culture of ‘one team, one community’ by wearing

mandatory school uniforms containing the RGES logo and motto “Tomorrow’s

Leaders,” which uniforms were expressly said to “serve to foster school spirit and

unity.” That this case was for the purpose of compelling “school unity” instead of

“national unity” makes no difference.

      Furthermore, Tinker v. Des Moines Independent Community School Dist.,

393 U.S. 503 (1969) makes clear students retain their rights to free speech, and

Wooley v. Maynard, 430 U.S. 705 (1977) established that citizens cannot be

compelled to bear the government’s message on their private property.

      Jacobs v. Clark County School Dist., 526 F.3d 419 (9th Cir. 2008) did not

alter these Supreme Court precedents. These closely analogous cases and common

sense put the rights at issue here well within the realm of “clearly established.”

This Court recognized as much: “The ‘right of freedom of thought protected by the

First Amendment against state action includes both the right to speak freely and the

right to refrain from speaking at all.’” Frudden v. Pilling, 742 F.3d 1199, 1203 (9th

Cir. 2014) (quoting Wooley v. Maynard, 430 U.S. 705, 714 (1977) (citing W. Va.

State Bd. of Educ. v. Barnette, 319 U.S. 624, 633–34 (1943)); and Rumsfeld v.

Forum for Academic & Institutional Rights, Inc., 547 U.S. 47, 61 (2006) (stating




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that “freedom of speech prohibits the government from telling people what they

must say”)).

      “Anyone who acts on behalf of the government should know that a person

has a constitutional” First Amendment right of free speech. See Devereaux v.

Abbey, 263 F.3d 1070, 1084 (2001) (J. Kleinfeld concurring in part, and dissenting

in part) (regarding the constitutional right not to be “‘framed.’”).

VII. ATTORNEY’S FEES SHOULD BE ALLOWED TO THE FRUDDENS
     AS A PREVAILING PARTY

      The district court preliminarily concluded: “an award of attorneys [sic] fees

would probably not be appropriate under 42 U.S.C. § 1998(b) [sic].”). ER 29. The

MSJ requested costs and fees be denied the Fruddens. ER 269-270. The court

ruled the issue was unripe. ER 23.

      Pursuant to 42 U.S.C. §1988, the court in its discretion, may allow the

prevailing party in a civil rights action reasonable attorney’s fee as part of the

costs. “[A] request for attorney’s fees under § 1988 raises legal issues collateral

to” and “separate from” the decision on the merits. White v. New Hampshire Dept.

of Employment Security, 455 U.S. 445, 451-52, (1982). A “request for attorney’s

fees should not result in a second major litigation.” Hensley v. Eckerhart, 461 U.S.

424, 437 (1983).

      Mary Frudden’s representation of Jon Frudden and the minor children

satisfies the per se rule announced in Kay v. Ehrler, 499 U.S. 432 (1991). A
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successful civil rights plaintiff may recover reasonable attorney’s fees for legal

services performed by the plaintiff’s attorney-spouse as part of the costs under

§1988. Rickley v. Cty of Los Angeles, 654 F.3d 950, 956 (9th Cir. 2011). The

attorney’s fee provision in 42 U.S.C. §1988 is not “a general rule requiring counsel

to be independent and emotionally detached” and “[n]either the Supreme Court nor

[the Ninth Circuit] has ever adopted such a rule.” Id. at 955; See also, Weissberg v.

Lancaster School Dist., 591 F.3d 1255 (9th Cir. 2011)(Attorney’s fees awarded for

legal services by attorney-grandmother); Collins v. Chandler Unified School Dist.,

644 F.2d 759 (9th Cir. 1981)(Successful parent suing on behalf of her minor child

was entitled to attorney’s fees under 42 U.S.C. §1988 absent a showing of “special

circumstances.”).

      Accordingly, the Fruddens request a ruling from this Court which would

provide the district court guidance on the issue of attorney’s fees pursuant to §1988

so that it does not result in a second major litigation.

VIII. THE COURT ABUSED ITS DISCRETION IN EXCLUDING THE
      FRUDDENS’ EVIDENCE

      The school authorities did not object to any of the evidence submitted by the

Fruddens. ER 78-98; see Fed.R.Civ.P. 56(c)(2). The district court excluded all but

Jon Frudden’s Declaration. ER 18-20.

      Neither DiMartino v. Eighth Jud. Dist. Ct. ex rel. Cnty. of Clark, 66 P.3d

945, 946–47 (Nev. 2003) nor Rule 3.7 of the Rules of Professional Conduct
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disqualify Mary Frudden as a witness. DiMartino and the language of the Rule

demonstrate that a lawyer is permitted to act as advocate at a trial in which the

lawyer is likely to be a necessary witness if disqualification of the lawyer would

work substantial hardship on the client. Mary Frudden’s Declaration attests that

prior to filing the original Complaint and after that time, Ms. Frudden had tried

unsuccessfully to enlist other lawyers to represent her, Jon Frudden and their minor

children. ER 210. Her Declaration was made upon personal knowledge, under

penalty of perjury. Id. Accordingly, her Declaration was admissible under Rule

56(c)(4) to show that her disqualification would work a substantial hardship.

      Documents must be authenticated by and attached to an affidavit that meets

the requirements of Rule 56(c)(4)) and the affiant must be a person through whom

the exhibits could be admitted into evidence. See 10A C. Wright, A. Miller, & M.

Kane, Federal Practice & Procedure § 2722 at 58-60 (2d ed. 1983). A competent

witness with personal knowledge can authenticate documents attached to an

admissible declaration. Fed.R.Evid. 901(b)(1). An attorney can submit an affidavit

when she is competent to testify to facts within her personal knowledge. 6 Moore's

Federal Practice ¶ 56.22[1] (2d ed. 1980); Lockwood v. Wolf Corp., 629 F.2d 603

(9th Cir. 1980). Here, Mary Frudden’s Declaration was sufficient and the

documents could be admitted through her at the time of trial, thus they should not




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have been excluded. ER 210-211; Hal Roach Studios, Inc. v. Richard Feiner &

Co., 896 F.2d 1542, 1551 (9th Cir.1990).

      In addition, most of the documents may have been admitted through Jon

Frudden. Mr. Frudden is the father of the minor children and was a recipient of all

the documents which originated from RGES and the PFA, which included,

Exhibits 6-10, 14, and 16. ER 111-113. Further, Exhibit 19 was sent to and

received at the Fruddens’ house, thus Mr. Frudden could authenticate that

document. ER 198-199. He was a “competent witness with personal knowledge”

who could have authenticated many of the documents, and thus they should have

been admitted, at least for purposes of determining summary judgment. Id.;

Carmen v. San Francisco Unified School District, 237 F.3d 1026, 1028-29 (9th

Cir.); Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). When evidence is not

presented in an admissible form in the context of a motion for summary judgment,

but it may be presented in an admissible form at trial, a court may still consider

that evidence. Fraser v. Goodale, 342 F.3d 1032, 1036-37 (9th Cir.2003) (citing

Block v. City of L.A., 253 F.3d 410, 418-19 (9th Cir.2001)).

      Documents produced in discovery are considered authentic if there is some

indication the documents are what they say they are and there is no substantive

challenge to their authenticity. See Maljack Productions, Inc. v. GoodTimes Home




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Video Corp., 81 F.3d 881, 889 (9th Cir. 1996). In this case that would include

exhibits 1, 12, and 15. ER 99-110,134-146,169-178.

      Exhibit 11, which the court indicates is “a newspaper or magazine article

concerning school uniform policies” was self-authenticating and admissible under

FRE 902(6). ER 130-133. This document is particularly important as it directly

refutes the school authorities’ contentions regarding the need for mandatory school

uniforms.

      Finally, a proper authentication for the exhibits could rest on any manner

permitted by FRE 901(b), including the distinctive characteristics such as

“appearance, contents, substance, internal patterns” “taken together with all the

circumstances.” FRE 901(b)(4); Orr v. Bank of America, 285 F.3d 764, 773 (9th

Cir. 2002).

      The evidence should not have been excluded by the court.

                                  CONCLUSION

      The government cannot constitutionally suppress students’ speech and

compel them to bear the government’s preferred messages where there is nothing

but an undifferentiated fear or apprehension of disturbance. This Court should

reverse the district court’s grant of summary judgment in favor of the school

authorities and direct judgment be entered in favor of the Fruddens as a matter of

law. The case should be remanded for a trial on damages.

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                    STATEMENT OF RELATED CASES

      The Fruddens state that the following case was previously heard in this

Court which concerns the case being briefed:

      Frudden v. Pilling, No. 12-15403 on appeal from motion to dismiss and

      resulting Opinion Frudden v. Pilling, 742 F.3d 1199 (9th Cir. 2014)




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                       CERTIFICATE OF COMPLIANCE



      This brief complies with the type-volume limitations of Fed.R.App.P.

32(a)(7)(B) because the brief contains 13,944 words, excluding the parts of the

brief exempted by Fed.R.App.P. 32(a)(7)(B)(iii).

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and the type style requirements of Fed.R.App.P. 32(a)(6) because this brief has

been prepared in a proportionally spaced typeface using Microsoft Word in 14

point Times New Roman typeface.



Dated: June 18, 2015

                                             s/ Mary Frudden, Esq.
                                             Counsel for Plaintiffs-Appellants
                                             Jon E. Frudden On behalf of his
                                             Minor Children, John Doe and Jane
                                             Doe




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                         CERTIFICATE OF SERVICE


      I hereby certify that I electronically filed the foregoing EXCERPTS OF

RECORD with the Clerk of the Court for the United States Court of Appeals for

the Ninth Circuit by using the appellate CM/ECF system on June 18, 2015.

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the appellate CM/ECF system including:

Sara Almo
Counsel for Defendants


Dated: June 18, 2015

                                             s/ Mary Frudden, Esq.
                                             Counsel for Plaintiffs-Appellants
                                             Jon E. Frudden On behalf of his
                                             Minor Children, John Doe and Jane
                                             Doe




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